Case 2:23-cv-00444-JRG Document 1-14 Filed 09/27/23 Page 1 of 8 PageID #: 217




                       EXHIBIT 13
Case 2:23-cv-00444-JRG Document 1-14 Filed 09/27/23 Page 2 of 8 PageID #: 218
                  Case 2:23-cv-00444-JRG Document 1-14 Filed 09/27/23 Page 3 of 8 PageID #: 219




                                     See also 16[a]-16[c] below.
16[a] a shared component;            The T-Mobile system includes a shared component, for example, at least the HSS.




                                     Source: VoWiFi Service Description, Version 1.0, 03 March 2015 - GSM Association,
                                     Official Document V2020.02 - VoWiFi Service Description.




                                                         Page 2
Case 2:23-cv-00444-JRG Document 1-14 Filed 09/27/23 Page 4 of 8 PageID #: 220




                   Source: VoLTE Service Description and Implementation Guidelines Version 2.0 07
                   October 2014




                                      Page 3
                  Case 2:23-cv-00444-JRG Document 1-14 Filed 09/27/23 Page 5 of 8 PageID #: 221




16[b] a first environment access module   The T-Mobile system includes a first environment access module, for example, at least the
that communicates with the shared         MME, that communicates with the shared component to enable access to a first network
component to enable access to a first     using a first wireless access technology (such as cellular access).
network using a first wireless access
technology; and




                                          Source: VoWiFi Service Description, Version 1.0, 03 March 2015 - GSM Association,
                                          Official Document V2020.02 - VoWiFi Service Description.




                                                              Page 4
Case 2:23-cv-00444-JRG Document 1-14 Filed 09/27/23 Page 6 of 8 PageID #: 222




                   Source: VoLTE Service Description and Implementation Guidelines Version 2.0 07
                   October 2014




                                      Page 5
                  Case 2:23-cv-00444-JRG Document 1-14 Filed 09/27/23 Page 7 of 8 PageID #: 223




16[c] a second environment access         The T-Mobile system includes a second environment access module, for example, at least
module that communicates with the         the 3GPP AAA Server, that communicates with the shared component to enable access to a
shared component to enable access to a    second network using a second wireless access technology (such as Wi-Fi) that differs from
second network using a second wireless    the first wireless access technology (such as cellular).
access technology that differs from the
first wireless access technology.




                                          Source: VoWiFi Service Description, Version 1.0, 03 March 2015 - GSM Association,
                                          Official Document V2020.02 - VoWiFi Service Description.




                                                              Page 6
Case 2:23-cv-00444-JRG Document 1-14 Filed 09/27/23 Page 8 of 8 PageID #: 224




                   Source: VoWiFi Service Description _Version 1.0, 03 March 2015 - GSM Association,
                   Official Document V2020.02 - VoWiFi Service Description




                                      Page 7
